
In re State of Louisiana; — Plaintiff(s); applying for supervisory and/or remedial writs; Parish of Orleans, Criminal District Court, Div. “I”, No. 353-189; to the Court of Appeal, Fourth Circuit.
Granted. The district court’s judgment granting the defendant’s motion to quash is vacated and this case is remanded for further proceedings. Determination of whether the defendant will receive good time credit on the time he spent in jail after arrest and before sentencing to a term of imprisonment at hard labor rests exclusively with the Department of Corrections. La.R.S. 15:571.3. The defendant therefore had not yet completed his sentence on the same day that it was imposed with credit for time served when the state filed its multiple bill. Under these circumstances, the state filed the multiple bill within a reasonable time of the defendant’s conviction and sentence and before the defendant had secured his release from custody on the penalty imposed for the predicate offense. See State v. George, 218 La. 18, 48 So.2d 265 (1950); cf, State v. Broussard, 416 So.2d 109 (La.1982); State v. Bell, 324 So.2d 451 (La.1975); State v. McQueen, 308 So.2d 752 (La.1975).
ORTIQUE, J., not on panel.
